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     9                        UNITED STATES DISTRICT COURT
    10                     SOUTHERN DISTRICT OF CALIFORNIA
    11   IN RE PACKAGED SEAFOOD                    Case No. 3:15-md-02670-JLS-MDD
         PRODUCTS ANTITRUST
    12   LITIGATION                                STIPULATION AND JOINT
                                                   MOTION TO STRIKE BY
    13                                             PLAINTIFF THE CHEROKEE
                                                   NATION AND DEFENDANT
    14                                             CHRISTOPHER D. LISCHEWSKI
         This document relates to The
    15   Cherokee Nation v. Bumble Bee             Judge:      Hon. Janis L. Sammartino
         Foods LLC, et al., Case No. 3:17-cv-      Date Filed: December 9, 2015
    16   2322-JLS-MDD
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                        JOINT MOTION BY THE CHEROKEE NATION AND LISCHEWSKI
                                     Case No. 3:15-md-02670-JLS-MDD
         1307566
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     1             Plaintiff The Cherokee Nation and Defendant Christopher D. Lischewski
     2   have conferred by and through their counsel and, subject to the Court’s approval,
     3   HEREBY STIPULATE AS FOLLOWS:
     4             WHEREAS, The Cherokee Nation already dismissed Mr. Lischewski from
     5   the above captioned case on April 20, 2018 (ECF No. 951);
     6             WHEREAS, The Cherokee Nation has inadvertently included Mr.
     7   Lischewski as a defendant in its Second Amended Complaint (ECF No. 1522);
     8             IT IS HEREBY STIPULATED, by and between The Cherokee Nation and
     9   Mr. Lischewski, through their respective counsel of record, that:
    10             1.   Mr. Lischewski shall be stricken as a defendant from the Second
    11   Amended Complaint.
    12
    13                                                  Respectfully submitted,

    14   Dated: November 6, 2018                       KEKER, VAN NEST & PETERS
                                                       LLP
    15
    16                                           By:   /s/ Benedict Y. Hur
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    24                                                   /s/ Rebecca R. Anzidei
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                                        Case No. 3:15-md-02670-JLS-MDD
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    21                                                    The Cherokee Nation
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                                                          *pro hac vice forthcoming
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    24
    25                               SIGNATURE ATTESTATION
    26             Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I hereby
    27   certify that authorization for filing this document has been obtained from each of
    28   the other signatories shown above, and that all signatories have authorized
                                                         3
                            JOINT MOTION BY THE CHEROKEE NATION AND LISCHEWSKI
                                         Case No. 3:15-md-02670-JLS-MDD
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     1   placement of their electronic signature on this document.
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